                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA

                                                  )
UNITED STATES of AMERICA,                         )
                                                  )                 4:21-mj-00011-HCA-1
               Plaintiff,                         )        Case No. ______________________
                                                  )
                vs.                               )
                                                  )               RULE 5 ORDER
 Douglas Austin Jensen                            )
                                ,
                                                  )
               Defendant.                         )
                                                  )

        Pursuant to the Due Process Protections Act, the Court confirms the United States'

obligation to disclose to the defendant all exculpatory evidence-that is, evidence that favors the

defendant or casts doubt on the United States' case, as required by Brady v. Maryland, 373 U.S.

83 (1963) and its progeny, and ORDERS the United States to do so. Failure to disclose

exculpatory evidence in a timely manner may result in consequences, including, but not limited

to, exclusion of evidence, adverse jury instructions, dismissal of charges, contempt proceedings,

disciplinary action, or sanctions by the Court.


        IT IS SO ORDERED.




Date: January 12, 2021
                                                                       Judge’s signature


                                                      Helen C. Adams, Chief U.S. Magistrate Judge
                                                                      Printed name and title
